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November 24, 2020



Magistrate Judge Jacqueline Scott Corley
United States District Court
Northern District of California
450 Golden Gate Avenue
Courtroom E—15th Floor
San Francisco, CA 94102

Re:       Kirpatrick v. The City of Oakland
          Case No.: 20-cv-05843

Dear Judge Corley,

Pursuant to the Court’s November 19, 2020, Order (ECF 20), the parties have met and conferred
regarding the appointment of a settlement judge and request that the Court refer the parties to
Magistrate Judge Spero for settlement purposes. In the event that Judge Spero is unable to
serve, the parties will further meet and confer and request an alternative.

Very truly yours,

KEKER, VAN NEST & PETERS LLP




R. James Slaughter

RJS:mls




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